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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SUZANNE MARSTELLER,                        :      CIVIL ACTION
                                           :
              Plaintiff,                   :      NO. 1:22-CV-00546-JPW
                                           :
      v.                                   :
                                           :
RIVER SUPPLY, INC.,                        :
                                           :
              Defendant.                   :      ELECTRONICALLY FILED
                                           :
                                           :
                                           :
                                           :

                           DISCLOSURE STATEMENT

      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned

counsel for Defendant, River Supply, Inc., certifies that the foregoing entity does not

have a parent corporation and that no publicly held corporation owns 10% or more

of River Supply, Inc.

                                               Respectfully submitted,


                                               PILLAR AUGHT LLC

                                        By:    /s/ Lindsey E. Snavely
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                                 (717) 308-9910

                                 Attorneys for Defendant




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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 5, 2022, a true and correct copy of the foregoing

document was served electronically on the following:

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      I understand that notice of this filing will be sent to all parties of record by

operation of the Court’s electronic filing system, and that parties may access this

filing through the Court’s system.



                                             /s/ Lindsey E. Snavely
